 Case 2:19-cr-00527-BRM Document 109 Filed 11/19/20 Page 1 of 1 PageID: 379



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                       MINUTES



NEWARK
Judge: BRIAN R. MARTINOTTI                                   Date: 11/19/2020
Court Reporter: Megan McKay Soule                            Docket No: 2:19-527

Title of the Case:

UNITED STATES OF AMERICA
v
GREGORY MIMS

Appearances:

Naazeen Khan, AUSA
Alison Brill, AFPD

Nature of Proceedings:

Deft. present via Zoom call (from Danbury)
Hearing held on defendant’s motion [96] and [106] for reduction of sentence under First Step Act 18
USC3582 (c)(1)(A) Covid 19/compassionate release.
Argument held.
Court RESERVED decision.

Commenced: 10:00 am
Concluded: 10:50 am
                                                     Lissette Rodriguez, Courtroom Deputy
                                                     to the Hon. Brian R. Martinotti U.S.D.J.
